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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FL()RIDA - TAMPA DIVISION

CASE NO. 8:15-bk-10728-MGW
CHAPTER 7
IN RE:

Kay N Johnson
aka Kay Nichols Johnson,
Debtor
/

FEDERAL NATIONAL MORTGAGE ASSOCIATION’S
MOTION F()R RELIEF FROM THE AUTOMATIC STAY
(Surrender Property)

 

 

NOTICE OF OPP()RTUNITY TO OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider this motion, objection, or other
matter without further notice or hearing unless a party in interest files an objection within
21 days from the date set forth on the proof of service attached to this paper plus an
additional three days for service. If you object to the relief requested in this paper, you
must file your response with the Clerk of the Court at 801 N. Florida Avenue, Suite 555,
Tampa, FL 33602-3899, and serve a copy on the Movant’s attorney, Marc G. Granger,
Esq., at Kahane & Associates, P.A., 8201 Peters Road, Ste 3000, Plantation, FL 33324, and
any other appropriate persons within the time allowed.`

If you file and serve a response within the time permitted, the Court may schedule and
notify you of a hearing, or the Court may consider the response and may grant or deny the
relief requested without a hearing. If you do not file a response within the time permitted,
the Court will consider that you do not oppose the relief requested in the paper, will
proceed to consider the paper without further notice of hearing, and may grant the relief
requested.

 

COMES NOW, Seterus, lnc., as the authorized subservicer for Federal National
Mortgage Association (“Fannie Mae”), creditor c/o Seterus, lnc., its Successors and/or Assigns
(“Secured Creditor”), by and through its undersigned counsel, moves for Relief from the

Automatic Stay and states as follows:

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l. The Court has jurisdiction over this matter pursuant to ll U.S.C. § 362, FRBP
4001(a) and the various other applicable provisions of the United States Bankruptcy Code,
Federal Rules of Bankruptcy Procedure and the laws of the United States of America.

2. The Debtor listed above (the “Debtor”) filed a voluntary petition pursuant to

Chapter 7 of the Banl<ruptcy Code on October 23, 2015.

3. Secured Creditor holds a security interest in the Debtor’s non-exempt real property
located at 213 Majestic Drive, Cross Lanes, West Virginia 25313, by virtue of a Deed of Trust
dated April l7, 2003, which was recorded in the Public Records of Kanawha County, West
Virginia, on April 24, 2003, in Ofticial Records Book 2972, Page 898. Said Deed of Trust
secures a Note in the amount 0f$110,400.00. See Exhibit “A” attached hereto.

4. The aforementioned Mortgage gives Secured Creditor a first mortgage position on

said property, legally described as:

All that certain lot, tract or parcel of land, together with the improvements thereon and
the appurtenances thereunto belonging situate in Union District, Kanawha County, West
Virginia, and b eing m ore p articularly described a s L ot 'I`hirty E. ight (38), Section Two
(2), Majestic Heights Subdivision, as shown upon a map thereof entitled, “Final Plat of
Section Two (2) Lots 36 Thru 52 & Lots 61 Thru 63 Majestic Heights Subdivision
Developed by The Majestic Land Company Near Cross_Lanes, West Virginia Situate on
the Waters ofDuddings Fork a Rocky Fork a Tributary of the Poca River, Union Distn`ct,
Kanawha County, West Virginia”, bearing date April' 10, 1984, made by Dunn Engineers,
Inc., which m ap is o f record in the Ofiice o f the C lerk of the County Commission of
Kanawha County, West Virginia, in Map Book 38, page 21. '

And being the same property conveyed unto Kay Nichols Johnson by M. Nicole Elkins
now known as M. Nicole Ciliberti by deed dated August'24, 2001, and of record in Deed
Boolc 2533, at page 830, to which deed reference is hereby made for a more particular
description herein conveyed.

This conveyance is made subject to such rights of way, easements, reservations,
restrictions, covenants and conditions as the same may be contained inpriordeeds of
record in the chain of title.

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5. Upon information and belief, said property has not been claimed exempt and,
pursuant to the duly filed Staternent of lntentions, the property is being surrendered The
property has not been abandoned by the Trustee.

6. Furthermore, according to the Debtor’s Schedule “D”, the estimated market value of
the subject property is $85,740.00. Thus, there is no equity in the subject property for the benefit
of unsecured creditors of the estate. See Exhibit “B” attached hereto.

7. Secured Creditor’s security interest in the subject property is being significantly
jeopardized by the Debtor’s failure to make regular payments under the subject loan documents
while Secured Creditor is prohibited from pursuing lawful remedies to protect such security
interest.

8. Secured Creditor maintains that cause exists pursuant to ll U.S.C. §362(d)(l) for
the automatic stay to be lifted to allow Secured Creditor to pursue its in rem remedies

9. Secured Creditor respectfully requests the Court waive the fourteen (14) day stay of
the Order Granting Relief pursuant to Bankruptcy Rule 4001 (a)(3), so the Secured Creditor can
pursue its in rem remedies without further delay.

lO. Secured Creditor has incurred attorneys’ fees of $750.00 and costs of $176.00 as a
result of having to file this Motion. Secured Creditor seeks an award of its fees and costs or,
alternatively, leave to seek recovery of its reasonable bankruptcy attorneys’ fees and costs in any
pending or subsequent foreclosure action.

ll. Pursuant to ll U.S.C. § 362(e), Secured Creditor hereby requests that in the event a
hearing becomes necessary one be held within thirty (30) days

12. Secured Creditor requests that the Court Order provides that all communications

sent by Secured Creditor in connection with proceeding against the property including, but not

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limited to, notices required by state law and communications to offer and provide information
with regard to a potential Forbearance Agreement, Loan Modification, Refinance Agreement,
Loss Mitigation Agreement, or other Loan Workout, may be sent to the Debtor.

WHEREF()RE, Secured Creditor respectfully requests that the automatic stay be lifted
so that it may pursue in rem remedies to protect its security interests in the Debtor’s property
outside of the bankruptcy forum, that the fourteen (14) day stay of the Grder Granting Relief
pursuant to Bankruptcy Rule 4001(a)(3) be waived, that Secured Creditor’s attorneys’ fees and
costs incurred in filing this l\/Iotion be recoverable as part of the debt pursuant to the loan
documents under the remedies available therein, that in the event a hearing is necessary one be
held within thirty (3 0) days, and for such other relief as the Court may deem just and proper.

Kahane & Associates, P.A.
8201 Peters Road, Suite 3000

Plantation, Florida 33324
Telephone: (954) 382-3486

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By: / ij
l:| Marc G. Gr gei{E€q(Ha. BarNo.: 146870

ij Gr€gg S hrens, Esq., Fla. Bar No.: 352837
ij Taji reman, Esq., Fla. Bar No.: 58606

  
 

 

 

I HEREBY CERTIFY that a true and correct copy of the Motion for Relief from Stay
was delivered to the addressees on the attached mailing list by First Class U. S. Mail postage pre-
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paid and/or by Electronic Filing this / day of December, 2015.

Respectiiilly Submitted,

Kahane & Associates, P.A.

8201 Peters Road, Suite 3000
Plantation, Florida 33324 j ~~"”`°‘7'
Telephone: (954) 38 » ' n '~ "
Telefacsim " ' jj " y

 
 
 
 
 

    

U Marc G. GMa. Bar No.: 146870

[] Gregg"S. Ahrens, Esq., Fla. Bar No.: 352837
ij Taji Foreman, Esq., Fla. Bar No.: 58606

 

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Mailing List

Kay N Johnson
4001 Beneva Rd. #312
Sarasota, FL 34233

Melanie Archer Newby
Jodat Law Group P.A.
521 Ninth Street West
Bradenton, FL 34205

Traci K. Stevenson, Trustee
P O Box 86690
Madeira Beach, FL 33738

U.S. Trustee

United States Trustee - TPA7/13
Tiniberlake Annex, Suite 1200
501 E Polk Street

Tampa, FL 33602

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